        Case 1:19-cv-01136-APM Document 23 Filed 05/01/19 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

DONALD J. TRUMP; THE TRUMP ORGANIZATION,
INC.; TRUMP ORGANIZATION LLC; THE TRUMP
CORPORATION; DJT HOLDINGS LLC; THE DONALD
J. TRUMP REVOCABLE TRUST; and TRUMP OLD
POST OFFICE LLC,

                            Plaintiffs,

                   v.
                                                              Civil Action
ELIJAH E. CUMMINGS, in his official capacity as
Chairman of the House Committee on Oversight and         No. 1:19-cv-01136-APM
Reform; PETER KENNY, in his official capacity as Chief
Investigative Counsel of the House Committee on
Oversight and Reform; and MAZARS USA LLP,

                            Defendants,

COMMITTEE ON OVERSIGHT AND REFORM OF
THE U.S. HOUSE OF REPRENTATIVES,

                            Intervenor-Defendant.




       DEFENDANT MAZARS USA LLP’S STATEMENT OF POSITION AS TO
          PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
         Case 1:19-cv-01136-APM Document 23 Filed 05/01/19 Page 2 of 2



       Defendant Mazars USA LLP (“Mazars USA”), through its counsel, Blank Rome LLP,

provides the following statement of its position as to Plaintiffs’ Motion for a Preliminary

Injunction (ECF No. 11), in advance of oral argument scheduled for May 14, 2019 at 11:00 a.m.

       On April 29, 2019, the Court granted the Committee on Oversight and Reform’s motion

to intervene as a Defendant in this action, and the same day, Plaintiffs filed a stipulation

voluntarily dismissing Defendants Elijah E. Cummings and Peter Kenny. Plaintiffs seek to enjoin

the Committee from enforcing a subpoena dated April 15, 2019 that was issued by the

Committee, and to enjoin Mazars USA from complying with the subpoena. The subpoena, by its

terms, compels Mazars USA to produce certain documents in its possession.

       Although Mazars USA is the recipient of the Committee’s subpoena, the dispute in this

action is between Plaintiffs and the Committee. Accordingly, Mazars USA takes no position on

the legal issues raised by Plaintiffs, and requests no time for oral argument before the Court.


Dated: May 1, 2019                                Respectfully submitted,


                                                  /s/ Henry F. Schuelke III
Jerry D. Bernstein*                               Henry F. Schuelke III (D.C. Bar No. 91579)
Inbal P. Garrity*                                 Lawrence H. Wechsler (D.C. Bar No. 102418)
Nicholas R. Tambone*                              BLANK ROME LLP
BLANK ROME LLP                                    1825 Eye Street NW
1271 Avenue of the Americas                       Washington, D.C. 20006
New York, NY 10020                                Tel.: (202) 420-2200
Tel.: (212) 885-5000                              LWechsler@BlankRome.com
JBernstein@BlankRome.com                          HSchuelke@BlankRome.com
IGarrity@BlankRome.com                            Counsel for Defendant
NTambone@BlankRome.com                            Mazars USA LLP
*Pro Hac Vice Application Forthcoming
Counsel for Defendant
Mazars USA LLP




                                                  1
